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13   Research and Manufacturers of America

14
                            IN THE UNITED STATES DISTRICT COURT
15
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
16
                                     SACRAMENTO DIVISION
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     PHARMACEUTICAL RESEARCH AND                     2:17-cv-02573-MCE-KJN
19   MANUFACTURERS OF AMERICA,
                                                      STIPULATION FOR DISMISSAL WITH
20                                         Plaintiff, PREJUDICE [FRCP 41(a)(1)(A)(ii)]

21                v.
                                                     Courtroom: 7, 14th Floor
22                                                   Judge: Honorable Morrison C. England, Jr.
     ELIZABETH A. LANDSBERG, in her                  Trial Date: Not set
23   official capacity as Director of the            Action Filed: December 8, 2017
     California Office of Statewide Health
24   Planning and Development,

25                                      Defendant.

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     1829778v1


                            STIPULATION FOR DISMISSAL WITH PREJUDICE
     Case 2:17-cv-02573-MCE-KJN Document 112 Filed 09/19/22 Page 2 of 3


 1               Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, IT IS HEREBY

 2   STIPULATED, by and between Plaintiff Pharmaceutical Research and Manufacturers of America

 3   and Defendant Elizabeth A. Landsberg, in her official capacity as Director of the California

 4   Department of Health Care Access and Information, formerly the California Office of Statewide

 5   Health Planning and Development, through their undersigned counsel of record, that the above-

 6   captioned action be and hereby is dismissed in its entirety with prejudice. Each party shall bear

 7   its own fees and costs.

 8
     Dated: September 19, 2022                               Respectfully submitted,
 9
                                                             ROB BONTA
10                                                           Attorney General of California
                                                             MARK R. BECKINGTON
11                                                           Supervising Deputy Attorney General
12

13                                                           /s/ Sharon L. O’Grady        _____
                                                             SHARON L. O’GRADY
14                                                           (as authorized on 9/19/2022)
15                                                           Deputy Attorney General
                                                             Attorneys for Defendant Elizabeth A.
16                                                           Landsberg, Director of the California
                                                             Department of Health Care Access and
17                                                           Information, formerly the Office of
                                                             Statewide Health Planning and
18                                                           Development
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                                   STIPULATION FOR DISMISSAL WITH PREJUDICE
     Case 2:17-cv-02573-MCE-KJN Document 112 Filed 09/19/22 Page 3 of 3


 1   Dated: September 19, 2022                    DOWNEY BRAND LLP

 2

 3                                                /s/ Annie S. Amaral        ________
                                                  ANNIE S. AMARAL
 4
                                                  Attorneys for Plaintiff Pharmaceutical
 5                                                Research and Manufacturers of America

 6   DATED: September 19, 2022                    ARNOLD & PORTER KAYE SCHOLER LLP
 7

 8
                                                        /s/ Allon Kedem
 9                                                              ALLON KEDEM
10                                                        (as authorized on 9/19/2022)

11                                                   Attorneys for Plaintiff Pharmaceutical
                                                    Research and Manufacturers of America
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                           STIPULATION FOR DISMISSAL WITH PREJUDICE
